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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

MARIE BACON                                      )
                                                 )
         Plaintiff,                              )
                                                 ) Case No. 4:11-CV-01904
v.                                               )
                                                 )
AMERICAN CORADIUS INTERNATIONAL                  )
                                                 )
         Defendant.                              )


                                 STIPULATION OF DISMISSAL

         COME NOW Plaintiff and Defendant, by and through their respective counsel,

and inform this Court pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) that all

parties consent and stipulate to the dismissal of this action with prejudice. The parties

respectfully request that this Court enter an Order dismissing this suit with prejudice and

terminating this litigation.

                                          RESPECTFULLY SUBMITTED:

                                          s/ James W. Eason

                                          _________________________
                                          RICHARD A. VOYTAS JR. #52046MO
                                          JAMES W. EASON, #57112MO
                                          EASON & VOYTAS LLC
                                          One North Taylor Avenue
                                          St. Louis, Missouri 63108
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                                          s/ Allison L. Cannizaro
                                          ________________________
                                          Allison L. Cannizaro
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                             CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the foregoing
document was sent to the individuals listed on the service list below by ECF Filing on
February 13, 2012.




                                         s/ James W. Eason
                                         _________________________
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                                         JAMES W. EASON, #57112MO
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                                         s/ Allison L. Cannizaro
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